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                                       ORDERED.


     Dated: February 04, 2019




                       UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF FLORIDA – ORLANDO DIVISION

IN RE:

ROWENA M. GRAY-LESLIE,                             CASE NO.: 6:18-bk-07666-KSJ
                                                   CHAPTER 7
       Debtor(s).
______________________________________/

         ORDER GRANTING CREDITOR’S MOTION FOR RELIEF FROM THE
                                 AUTOMATIC STAY
            Property Address: 27409 HAMMOCK VIEW CT,YALAHA, FL34797


         This case came before the Court on Creditor's, U.S. Bank National Association as Legal

Title Trustee for Truman 2016 SC6 Title Trust ("Creditor"), Motion for Relief from the

Automatic Stay [D.E. 15 ] pursuant to the negative notice provisions of Local Rule 2002-4.

Having considered the Motion and the absence of any record objection to the relief requested, the

Court deems the Motion to be uncontested. The Court makes no determination that the Debtor

has defaulted on the underlying obligation or as to the Creditor’s standing. Accordingly, it is
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                                                                      Case No. 6:18-bk-07666-KSJ


       ORDERED:

       1.   Creditor's Motion for Relief from the Automatic Stay is GRANTED.

       2.     The Automatic Stay imposed by 11 U.S.C. §362 is lifted as to this Creditor its

successors and/or assignees, and the Creditor may proceed with foreclosure of its lien on the

following property:

       LOT 16 OF LAKES AND SPRINGS SUBDIVISION, ACCORDING TO THE
       PLAT THEREOF AS RECORDED IN PLAT BOOK 38, PAGES 49 THROUGH
       53, OF THE PUBLIC RECORDS OF LAKE COUNTY, FLORIDA.

       Property Address: 27409 HAMMOCK VIEW CT, YALAHA, FL 34797

       3.   This Order is entered for the sole purpose of allowing Creditor, its successors and/or

assignees, to obtain an in rem judgment against the property described above. Creditor shall not

seek an in personam judgment against Debtor(s).

       4.   Bankruptcy fees and costs of $526.00 are awarded in rem for the Motion.

       5.   Creditor, its successors and/or assignees, may, at its option, offer provide and enter

into a potential forbearance agreement, loan modification, refinance agreement, or other loan

workout/loss mitigation agreement. Creditor may contact the Debtor via telephone or written

correspondence to offer such an agreement. Any such agreement shall be non-recourse unless

included in a reaffirmation agreement.


Attorney for Creditor, Ida A. Moghimi-Kian, is directed to serve copies of this order on
interested parties and file a certificate of service within 3 days of the entry of the order.


1492-171941
YB.
